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                            Exhibit A




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                   qPPkXlrrVWPVWdeWV[]Nc
                   stuvtwxtvyz)i^MNO^_)]dYY)PVd]oi^h)dYYN{X)|NO)PN)d^dY|}W)i^MNO^_)]dYYX)d^_)_VieW)qihqWV
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                   qPPkXlrr{{{[XNbP{dVWd_ei]W[]Nc))]dYY]W^PWV))VWPVWdeWVkVNYW
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        STTUVW+XYZ+VT[\]^T_+]\`UW]^_U+\VVTaZ+bTc`+\YZ+]T+\ddW\`+^_+]eW+UWTU`\de^[+VT[\]^T_Z+]e\]+bTc+[eTTZWf+[Tc_]`^WZg
        \`W\Z+a^]e^_+\+[Tc_]`bg+\+̀\Y^cZ+\`Tc_Y+\+VT[\]^T_g+T`+VT[\]^T_+U`TcdZg+ae^[e+[\_+^_[VcYW+dV\[WZ+Th+^_]W`WZ]g+bTc`
        icZ^_WZZ+VT[\]^T_Zg+T`+]^W`WY+YWjTU`\de^[Zk
        lT[\]^T_+]\`UW]^_U+eWVdZ+bTc+hT[cZ+bTc`+\YmW`]^Z^_U+T_+]eW+\`W\Z+aeW`W+bTcnVV+o_Y+]eW+̀^Ue]+[cZ]TjW`Zg+\_Y
        `WZ]`^[]+^]+^_+\`W\Z+aeW`W+bTc+aT_n]k+pe^Z+ZdW[^o[+]bdW+Th+]\`UW]^_U+[TcVY+eWVd+^_[`W\ZW+bTc`
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        WU\`YVWZZ+Th+eTa+U`W\]+bTc`+\Y+^Zg+^]+d`Ti\iVb+aT_n]+dW`hT`j+\Z+aWVV+^h+^]+YTWZ_n]+\ddW\`+^_+]eW+̀^Ue]+dV\[WZk
        W\[e+bTc`+[cZ]TjW`Z+aeW`W+]eWb+\`W+\_Y+aeW`W+bTc`+icZ^_WZZ+[\_+ZW`mW+]eWj+ib+cZ^_U+STTUVW+XYZ+VT[\]^T_
        ]\`UW]^_Uk+Tc+[\_+ZW]+\_Y+]eW_+\YcZ]+bTc`+VT[\]^T_+]\`UW]^_U+ZW]]^_UZ+\]+\_b+]^jWk

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          Tjd\`W+VT[\]^T_+]\`UW]+]bdWZf+[Tc_]`^WZg+\`W\Z+a^]e^_+\+[Tc_]`bg+T`+̀\Y^cZ
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           j^_^jcj+\`W\+\_Y+j^_^jcj+cZW`+[Tc_]Z+\`W+jW]k+h+bTc`+YWZ^`WY+VT[\]^T_+]\`UW]+YTWZ+_T]+\YeW`W+]T+]eWZW
           d`^m\[b+]e`WZeTVYZg+]eW_+bTc+a^VV+_T]+iW+\iVW+]T+]\`UW]+^]+^_+]eW+STTUVW+XYZ+^_]W`h\[Wk

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        kiwnQsiU+iUSzqPziUS{+|S+nkTi+ittSO+QiikT+tiO+qpkr+SmsQsUj{+}kswr+nU+iWQsiU+qSkio+Qi+~Um+ipQ+xiOS{
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                        Exhibit &




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